                                                                                    DISTRICT OF OREGON
                                                                                         FILED
                                                                                      November 12, 2019
                                                                                 Clerk, U.S. Bankruptcy Court



    Below is an order of the court.




                                                                 _______________________________________
                                                                           PETER C. McKITTRICK
                                                                           U.S. Bankruptcy Judge




                            UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

  In re                                                Lead Case No. 19-62584-pcm11
                                                       (Jointly Administered with Case Nos.
  NORPAC Foods, Inc. [TIN 9330],                       19-33102-pcm11 and 19-33103-pcm11)
  Hermiston Foods, LLC [TIN 3927], and
  Quincy Foods, LLC [TIN 7444],                        AMENDED ORDER AUTHORIZING
                                                       EMPLOYMENT OF LOWENSTEIN
           Debtors.                                    SANDLER AS COUNSEL FOR THE
                                                       UNSECURED CREDITORS COMMITTEE

                 This matter came before the Court pursuant to the Application by the Official

  Committee of Unsecured Creditors (the “Committee”) to employ Lowenstein Sandler

  (“Lowenstein”) as Counsel filed on September 27, 2019 (Docket No. 209) (the

  “Application”). Based on the Application and the documents submitted in support thereof,

  including Lowenstein’s Verified Rule 2014 Statement, and after due deliberation the Court

  having determined that the relief requested in the Application is in the best interests of the

  Debtors’ Estates and their creditors; NOW, THEREFORE, it is ORDERED:

          1.     The Committee is authorized to employ the law firm of Lowenstein Sandler as

   counsel, nunc pro tunc as of August 30, 2019.



Page 1 of 2 – AMENDED ORDER AUTHORIZING EMPLOYMENT OF                              LEONARD LAW GROUP LLC
              LOWENSTEIN SANDLER AS COUNSEL FOR THE                                    1 SW Columbia, Ste. 1010
              UNSECURED CREDITORS COMMITTEE                                              Portland, Oregon 97204
                                                                                                leonard-law.com

                       Case 19-62584-pcm11          Doc 382      Filed 11/12/19
          2.       Except as set forth herein, the Court’s Order Authorizing Employment of
   Lowenstein Sandler as Counsel for the Unsecured Creditors Committee (Dkt. 190) shall remain

   in full force and effect.

                                                  ###
                  CERTIFICATION OF COMPLIANCE WITH LBR 9021-1(a)(2)(A)
               I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).
  PRESENTED BY:
  LEONARD LAW GROUP LLC


         /s/ Timothy A. Solomon
       Justin D. Leonard, OSB 033736
       Timothy A. Solomon, OSB 072573
       Holly C. Hayman, OSB 114146
  Local Counsel for Official Committee of Unsecured Creditors

  c:      ECF Participants




Page 2 of 2 – AMENDED ORDER AUTHORIZING EMPLOYMENT OF                             LEONARD LAW GROUP LLC
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